Filed 01/22/24                                                    Case 23-10457                                                       Doc 1309
              RELIEF FROM STAY SUMMARY SHEET
     *   *        *     INSTRUCTIONS ON FORM EDC 3-468-INST                        *    *    *
    COMPLETE ALL PORTIONS APPLICABLE TO THE RELIEF FROM STAY MOTION
    THIS IS IN THE NATURE OF A PRETRIAL STATEMENT AND IS NOT EVIDENCE.

    DEBTOR: _________________________________
            Madera Community Hospital                            CASE NO. __________________
                                                                          23-10457
    MOVANT: _________________________________
            Telcion Communications Group                          DC NO. ____________________
                                                                         SSA-1

    HEARING DATE/TIME: ___________________________________________________
                       February 27, 2024 at 9:30 a.m.

    RELIEF IS SOUGHT AS TO:
              (       ) REAL PROPERTY               Assessor Parcel Number (APN):
              ( ✔) PERSONAL PROPERTY                If applicable, Vehicle Identification Number (VIN):
              (       ) STATE COURT LITIGATION

    1. Address OR description of property or state court action: Cisco Router & Analog Gateway Replacements
    with 3 year Smartset plus licensing agreement
    2. Movant's trust deed is a ( ) 1st ( ) 2nd ( ) 3rd ( ) Other:
       OR
       Leased property is ( ) Residential ( ) Non-residential Term: ( ) Month-to-Month ( ✔) Other
    3. Verified appraisal filed?         _______       Movant's valuation of property:           $______________
    4. The following amounts are presently owing to movant for:

             PRINCIPAL                     INTEREST                     COSTS                        TOTAL

     $ 304,968.19                    $                            $ 40,275.00                    $ 345,243.19

    5. State identity, rank, and balance owing to other known lien holders. Use additional page V if necessary.
                                                                                         $
                                                                                                    $
                                                                                                    $
                                                                    TOTAL ALL LIENS                 $
                                                                    DEBTOR'S EQUITY                 $ 0.00

    6. Monthly payment is $ 8,967.61 , of which $                             is for impound account. Monthly late charge is $           .
    7. The last payment by debtor was received on __________________ and was applied to the payment due                                  .
    8. Number of payments past due and amount: (a) Pre-petition _____
                                                                12 $ ____________
                                                                      345,243.19  (b) Post-petition ____$                                .
    9. Notice of Default was recorded on ___________________.              Notice of sale was published on___________________________.
    10. If a chapter 13 case, in what class is this claim?
    11. Grounds for seeking relief (check as applicable):
              (✔) § 362(d)(1)                  ( ) § 362(d)(2)       ( ) § 362(d)(3)              ( ) § 362(d)(4)
              (✔ ) Cause        (✔) Inadequate protection        ( ✔) Lack of equity   (    ) Lack of insurance     (   ) Bad faith
              (       ) Surrendered pursuant to Statement of Intention.        (   ) Report of No Distribution has been filed.
              (✔) Other _________________________________________________________________________________         _________.
                        Mot to Reject Lease Dkt 198 filed 4/16/23; Minute Order Rejecting Lease Dkt 720 filed 7/25/23




    EDC 3-468 (Rev. 2/18)
